                 1:18-cv-03605-BHH                Date Filed 10/16/20        Entry Number 68            Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                Edward Lee Gregory,
                       Plaintiff
                           v.                                               Civil Action No.       1:18-cv-03605-BHH
 Hugh Hurwitz Acting Director of the United States
 Bureau of Prisons; Dr. Deborah G. Schult Director
    of the United States Bureau of Prisons Health                   )
     Services Division; Dr. A. Chambers in their                    )
                                                                    )
     individual capacity; Dr. R. Lepiane in their
                                                                    )
     individual capacities; Dr. D. Martin in their
                                                                    )
    individual capacities; Dr. L. Martinez in their
     individual capacities; Dr. I. Negron in their
individual capacities; Dr. G. Petry in their individual
capacities; Dr. E. Reed in their individual capacities,
                     Defendants.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)             recover from the defendant (name)                 the amount of            dollars ($ ),
which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of       %, along with
costs.
 O The plaintiff, Edward Lee Gregory, shall take nothing of the defendants, Hugh Hurwitz Acting Director of the United
 States Bureau of Prisons, Dr. Deborah G. Schult Director of the United States Bureau of Prisons Health Services
 Division, Dr. A. Chambers in their individual capacity, Dr. R. Lepiane in their individual capacities, Dr. D. Martin in
 their individual capacities, Dr. L. Martinez in their individual capacities, Dr. I. Negron in their individual capacities,
 Dr. G. Petry in their individual capacities and Dr. E. Reed in their individual capacities, and this action is dismissed
 without prejudice.

This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Bruce Howe Hendricks, United States District Judge, presiding, adopting the Report and
Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended dismissing
the action.

Date: October 16, 2020                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
